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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN DOE,                                              :
                                                       :
                               Plaintiff,              :
                                                       :   CIVIL ACTION NO.
       v.                                              :   18-cv-2044
                                                       :
SAINT JOSEPH’S UNIVERSITY, et al.                      :
                                                       :
                               Defendants.             :

                             WITHDRAWAL OF APPEARANCE

TO THE CLERK OF COURT:

       Kindly withdraw my appearance on behalf of Defendant, Saint Joseph’s University, in

the above-captioned action. John M. Myers and Albert L. Piccerilli will remain as attorneys of

record for Saint Joseph’s University in this action.

Date: November 2, 2018                        s/ Robert H. Bender, Jr.
                                              ROBERT H. BENDER, JR.




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                                 CERTIFICATE OF SERVICE


       I, ALBERT L. PICCERILLI, do hereby certify that a true and correct copy of the within

Withdrawal of Appearance of Robert H. Bender, Jr. was forwarded by the court’s electronic

notification system to all counsel of record.

Date: November 2, 2018                          s/ Albert L. Piccerilli
                                                ALBERT L. PICCERILLI




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